          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR33


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )      MEMORANDUM AND
                                         )         ORDER
                                         )
HAROLD EUGENE PATTON                     )
                                         )


     THIS MATTER is before the Court on Defendant’s motion to

withdraw his guilty plea. Defendant’s Motion for Withdrawal of Guilty

Plea and Points and Authorities, filed June 25, 2008. The Government

has filed response and opposes the relief sought. Government’s

Response to Defendant’s Motion to Withdraw Plea, filed July 14, 2008.

For the reasons set forth below, Defendant’s motion is denied.



                             I. BACKGROUND

     Defendant and 11 others were indicted for conspiracy to possess with

intent to distribute crack cocaine in violation of 21 U.S.C. §§ 846 and

841(a)(1). Bill of Indictment, filed April 3, 2007. After Defendant’s




  Case 1:07-cr-00033-MR-WCM      Document 263     Filed 07/29/08   Page 1 of 17
                                     2

arraignment, the Government filed a notice pursuant to 21 U.S.C. § 851

setting forth Defendant’s six prior felony drug convictions between 1986

and 2004. Information pursuant to 21 U.S.C. § 851 (“Government’s

Notice”), filed May 22, 2007. Defendant’s trial was scheduled for the July

9, 2007, term and the parties began preparing for trial. See Order, filed

April 30, 2007 (continuing the trial to the July 2007 term).

      On July 11, 2007, two days after the trial term began, the Defendant

entered into a plea agreement with the Government wherein he agreed to

plead guilty to Count One of the indictment. Plea Agreement, filed July

11, 2007. In exchange for his guilty plea, the Government agreed to

recommend up to a three-level reduction in his offense level provided the

Defendant demonstrated acceptance of responsibility for the offense and

timely provided information and his cooperation with the ongoing

investigation. Id. at 2.

      On July 12, 2007, the Defendant appeared with counsel before the

Magistrate Judge for a Rule 11 proceeding to formally enter his guilty plea.

The Magistrate Judge engaged the Defendant in the lengthy colloquy

required by Rule 11 to ensure that his guilty plea was knowingly and

voluntarily made and entered. Based on the representations and answers




  Case 1:07-cr-00033-MR-WCM       Document 263    Filed 07/29/08   Page 2 of 17
                                       3

of the Defendant and his attorney, the Magistrate Judge found that the

Defendant had entered his plea knowingly and voluntarily and that he

understood the charges, the potential penalties, and consequences of the

guilty plea, and accepted the Defendant’s plea of guilty. Rule 11 Inquiry

and Order of Acceptance of Plea, filed July 12, 2008.

      A draft presentence report was disclosed to the parties on April 2,

2008. The report found that Defendant’s prior felony drug convictions

mandated enhancement as a career offender pursuant to U.S.S.G. §

4B1.1, which resulted in an offense level of 37. Presentence

Investigation Report (Draft), filed April 2, 2008, ¶ 46. The report also

stated that provided the Government made a formal motion at sentencing,

Defendant could be awarded a three point reduction for acceptance of

responsibility,1 thereby reducing his total offense level to 34 with a

corresponding criminal history category of VI. Id. ¶¶ 47-48, 79. The report

concluded that due to his prior felony convictions, Defendant would be

subjected to enhanced penalties as a career offender and, thus, faced a

mandatory term of life imprisonment. Id. ¶ 112.


      1
       Defendant did not fully cooperate with the Government as agreed
upon in the plea agreement and thus forfeited any potential motion for
downward departure by the Government. Government’s Response, at 5.


  Case 1:07-cr-00033-MR-WCM         Document 263      Filed 07/29/08     Page 3 of 17
                                      4

      After the draft report was disclosed, the parties were advised that

objections thereto were to be filed on or before April 18, 2008. Along with a

motion for an extension of that deadline, Defendant’s former counsel,

Jason R. Hayes, filed a motion to withdraw as Defendant’s attorney, stating

in part:

      During counsel’s consultation with defendant [concerning the
      presentence report], defendant became visibly angry, hostile
      and verbally threatened counsel stating, “I’m facing life here,
      and I have nothing to lose. Do you know what I’m saying?”
      Defendant repeated this statement three or four times
      displaying a hostile posture, tone and manner such that
      counsel felt physically threatened by defendant. Defendant
      also stated that he desired new counsel and refused to further
      discuss the issues regarding the pre-sentence [report] with
      counsel.

Motion to Withdraw, filed April 18, 2008. The motion was granted and

the time for filing objections was held in abeyance until Defendant was

appointed new counsel and the presentence report was disclosed to that

attorney. Order, filed April 21, 2008. Substitute counsel was appointed

April 30, 2008, and his new attorney has filed the instant motion for

withdrawal of the guilty plea.




   Case 1:07-cr-00033-MR-WCM      Document 263    Filed 07/29/08   Page 4 of 17
                                      5

                                II. ANALYSIS

A.     De Novo Review of Rule 11 Proceedings

       Before a court may accept a guilty plea, it must ensure that the

defendant is competent to enter the plea and that the plea is knowing and

voluntary. Godinez v. Moran, 509 U.S. 389, 400 (1993); United States v.

Damon, 191 F.3d 561, 564 (4 th Cir. 1999).

       Rule 11 of the Federal Rules of Criminal Procedure was
       adopted to standardize the process for accepting guilty pleas in
       federal court. This rule provides that the court must personally
       inform the defendant of, and ensure that he understands, the
       nature of the charges against him and the consequences of his
       guilty plea. Rule 11 has two principal purposes. First, it
       “assist[s] the district judge in making the constitutionally
       required determination that a defendant's guilty plea is truly
       voluntary.” Second, it “produce[s] a complete record at the time
       the plea is entered of the factors relevant to this voluntariness
       determination.”

Id. (quoting McCarthy v. United States, 394 U.S. 459, 465 (1969)).

       Defendant and his attorney elected to enter the guilty plea before the

Magistrate Judge. Magistrate Judges are statutorily and constitutionally

authorized to conduct Rule 11 proceedings. United States v. Osborne,

345 F.3d 281, 287-88 (4 th Cir. 2003) (“The supervision of Rule 11 plea

proceedings, while obviously requiring care and discretion to ensure




     Case 1:07-cr-00033-MR-WCM     Document 263    Filed 07/29/08   Page 5 of 17
                                    6

that guilty pleas rest upon a firm factual basis, hardly dwells nigh the

outlands of magistrature.”). Rule 11 provides, in pertinent part:

     (b) Considering and Accepting a Guilty or Nolo
     Contendere Plea.

            (1) Advising and Questioning the Defendant. Before
     the court accepts a plea of guilty or nolo contendere, the
     defendant may be placed under oath, and the court must
     address the defendant personally in open court. During this
     address, the court must inform the defendant of, and determine
     that the defendant understands, the following:

           (A) the government's right, in a prosecution for
           perjury or false statement, to use against the
           defendant any statement that the defendant gives
           under oath;
           (B) the right to plead not guilty, or having already
           so pleaded, to persist in that plea;
           (C) the right to a jury trial;
           (D) the right to be represented by counsel – and if
           necessary have the court appoint counsel – at trial
           and at every other stage of the proceeding;
           (E) the right at trial to confront and cross-examine
           adverse witnesses, to be protected from compelled
           self-incrimination, to testify and present evidence,
           and to compel the attendance of witnesses;
           (F) the defendant's waiver of these trial rights if
           the court accepts a plea of guilty or nolo
           contendere;
           (G) the nature of each charge to which the
           defendant is pleading;
           (H) any maximum possible penalty, including
           imprisonment, fine, and term of supervised release;
           (I)    any mandatory minimum penalty;
           (J)    any applicable forfeiture;
           (K) the court's authority to order restitution;



  Case 1:07-cr-00033-MR-WCM       Document 263    Filed 07/29/08    Page 6 of 17
                                      7

           (L) the court's obligation to impose a special
           assessment;
           (M) in determining a sentence, the court's
           obligation to calculate the applicable
           sentencing-guideline range and to consider that
           range, possible departures under the Sentencing
           Guidelines, and other sentencing factors under 18
           U.S.C. § 3553(a); and
           (N) the terms of any plea-agreement provision
           waiving the right to appeal or to collaterally attack
           the sentence.

            (2) Ensuring That a Plea Is Voluntary. Before
     accepting a plea of guilty or nolo contendere, the court must
     address the defendant personally in open court and determine
     that the plea is voluntary and did not result from force, threats,
     or promises (other than promises in a plea agreement).

            (3) Determining the Factual Basis for a Plea. Before
     entering judgment on a guilty plea, the court must determine
     that there is a factual basis for the plea.

Fed. R. Crim. P. 11(b); United States v. DeFusco, 949 F.2d 114, 116 (4 th

Cir. 1991) (“Prior to accepting a guilty plea, a trial court, through

colloquy with the defendant, must inform the defendant of, and

determine that he understands, the nature of the charge(s) to which

the plea is offered, any mandatory minimum penalty, the maximum

possible penalty and various rights.”).

     A careful examination of the Rule 11 hearing in this case clearly

shows that the Magistrate Judge obtained Defendant’s consent to take the




  Case 1:07-cr-00033-MR-WCM        Document 263     Filed 07/29/08    Page 7 of 17
                                       8

guilty plea.2 Rule 11 Inquiry, supra, at 1-2 (“Do you understand that

you have the right to have a United States District Judge conduct this

proceeding?” The Defendant answered, “Yes.” “Recognizing your

right to proceed before a district judge, do you expressly consent to

proceed in this court, that is, before a United States Magistrate

Judge?” The Defendant answered, “Yes.”). The Magistrate Judge then

thoroughly questioned and advised Defendant, who was under oath, as to

each factor listed in Rule 11(b). Defendant’s affirmative responses to the

Magistrate Judge’s questions demonstrate, inter alia, that his plea to Count

One of the indictment was knowingly and voluntarily made; that he

understood the maximum penalty for the offense; that he waived his right to

jury trial; that he was satisfied with the services of his attorney; and that he

admitted under oath that he was guilty of the offense alleged in the

indictment. Id. The Court concludes there was no error in the Rule 11

proceedings.




      2
      There is no transcript of the Rule 11 hearing. However, the
undersigned has listened to the audio recording of that proceeding. The
answers recorded by the Magistrate Judge on the Rule 11 Inquiry form
comport to those heard in the recording.


  Case 1:07-cr-00033-MR-WCM         Document 263     Filed 07/29/08   Page 8 of 17
                                       9

B. Withdrawal of Guilty Plea

      Having determined that the Rule 11 proceedings were free of error,

the Court must now consider whether to allow Defendant to withdraw his

guilty plea. The importance of the finality of a guilty plea cannot be

overstated. See United States v. Hyde, 520 U.S. 670, 677 (1997) (“Were

withdrawal automatic in every case where the defendant decided to

alter his tactics and present his theory of the case to the jury, the

guilty plea would become a mere gesture, a temporary and

meaningless formality reversible at the defendant’s whim.”)

(quotation omitted); United States v. Breedlove, 7 F. App’x 268, 269

(4 th Cir. 2001) (“Given that [the defendant] consented to have the

magistrate judge preside over his Rule 11 hearing and tendered his

plea at that time, the magistrate judge’s recommendation to accept

his plea is binding.”).

      Examination of the plea colloquy in this case reveals several

questions relating to the finality of the Defendant’s plea:

      THE COURT: Is your mind clear and do you understand that
      you’re here today to enter a guilty plea that cannot later be
      withdrawn?

      THE DEFENDANT: Yes.
                                      ...


  Case 1:07-cr-00033-MR-WCM        Document 263     Filed 07/29/08   Page 9 of 17
                                       10

      THE COURT: Do you understand that if the sentence is more
      severe than you expect or the court does not accept the
      Government’s sentencing recommendation, you will still be
      bound by your plea and have no right to withdraw the plea of
      guilty?

      THE DEFENDANT: Yes.

Rule 11 Inquiry, supra, at 3, 6. In addition, Defendant signed the Rule 11

form affirming that the answers he had given during the Rule 11 hearing

were true to the best of his knowledge. Therefore, Defendant cannot claim

he had no notice of the finality of his actions.

      Accordingly, the undersigned concludes that the guilty plea entered

by Defendant on July 12, 2007, before the Magistrate Judge was final and

binding. United States v. Bowman, 348 F.3d 408, 414 (4 th Cir. 2003) (“If

an appropriately conducted Rule 11 proceeding is to serve a

meaningful function, on which the criminal justice system can rely, it

must be recognized to raise a strong presumption that the plea is final

and binding.”).




      2. Withdrawal of Final Plea




  Case 1:07-cr-00033-MR-WCM         Document 263   Filed 07/29/08   Page 10 of 17
                                      11

      In moving to withdraw his guilty plea, Defendant has “the burden of

showing a fair and just reason for withdrawal.” United States v.

Ubakanma, 215 F.3d 421, 424 (4 th Cir. 2000); see also Fed. R. Crim. P.

11(d)(2)(B) (allowing a defendant to withdraw a guilty plea if he “can

show a fair and just reason for requesting the withdrawal”). A “fair

and just” reason is one that “essentially challenges” the fairness of a

proceeding under Rule 11. Ubakanma, supra (quoting United States v.

Puckett, 61 F.3d 1092, 1099 (4 th Cir. 1995); see also Bowman, supra

(“The most important consideration in resolving a motion to withdraw

a guilty plea is an evaluation of the Rule 11 colloquy at which the

guilty plea was accepted.”).

      In addition to the evaluation of the Rule 11 proceedings, the Court

may also consider other circumstantial factors that relate to whether the

defendant has advanced a “fair and just reason” to withdraw his plea:

      (1) whether the defendant has offered credible evidence that
      his plea was not knowing or otherwise not voluntary, (2)
      whether the defendant has credibly asserted his legal
      innocence, (3) whether there has been a delay between entry
      of the plea and filing of the motion, (4) whether the defendant
      has had close assistance of counsel, (5) whether withdrawal
      will cause prejudice to the government, and (6) whether
      withdrawal will inconvenience the court and waste judicial
      resources.




  Case 1:07-cr-00033-MR-WCM       Document 263     Filed 07/29/08   Page 11 of 17
                                     12

Ubakanma, supra (citing United States v. Moore, 931 F.2d 245, 248 (4 th

Cir. 1991)). Although the third, fifth, and sixth factors should be considered

by the Court, the Fourth Circuit has recognized that the first, second, and

fourth factors “speak most straightforwardly to the question [of] whether the

movant has a fair and just reason to upset settled systemic expectations by

withdrawing [his] plea.” United States v. Sparks, 67 F.3d 1145, 1154 (4 th

Cir. 1995). The remaining three factors “are better understood as

countervailing considerations that establish how heavily the presumption

[of finality of pleas entered in accordance with Rule 11] should weigh in any

given case.” Id.

      In this case, Defendant contends he did not have close assistance of

counsel, that he was expressly advised by his former attorney that he

would avoid a life sentence by accepting the plea agreement, and that he is

factually innocent of the charge contained in Count One of the indictment.

      At the Rule 11 hearing, Defendant was placed under oath and

understood he was to give truthful answers to the questions asked by the

Magistrate Judge. Rule 11 Inquiry, supra, at 1. He acknowledged that if

he gave false information under oath, he could face prosecution for perjury

or false statements. Id. Defendant advised the Court that he was not




  Case 1:07-cr-00033-MR-WCM       Document 263      Filed 07/29/08   Page 12 of 17
                                     13

under the influence of any alcohol, drugs or medicines of any kind, and that

his mind was clear. Id. at 2-3. He advised he had reviewed the bill of

indictment with his attorney and that he was pleading guilty to Count One

of the indictment. Id. at 3. The Magistrate Judge read Count One of the

indictment charging the Defendant with conspiracy to possess with intent to

distribute cocaine base; named the essential elements the Government

would be required to prove if a jury trial were to be held; and advised

Defendant that he “would be sentenced to a mandatory term of life

imprisonment without release” if, at the time the offense was committed, he

had two or more prior convictions for a felony drug offense. Id. at 3-4

(emphasis added). The Defendant acknowledged that he “fully

underst[oo]d the charges against [him], including the maximum and

minimum penalties.” Id. at 4. At the time Defendant entered his plea, the

Government had provided the required notice of his six prior felony drug

convictions. Government’s Notice, supra. Therefore, Defendant and his

former attorney were placed on notice long before the guilty plea was

entered that the Defendant would face a mandatory term of life

imprisonment. In addition, the plea agreement was likewise very specific

on this point:




  Case 1:07-cr-00033-MR-WCM      Document 263     Filed 07/29/08   Page 13 of 17
                                      14

      If, by the date that the defendant pleads guilty, the United
      States has filed notice of two or more prior felony drug
      convictions, the statutory penalty shall be life imprisonment[.]
                                      ...
      The defendant is further aware . . . that any estimate from any
      source, including defense counsel, of the likely sentence is a
      prediction rather than a promise, and that the Court has the
      final discretion to impose any sentence up to the statutory
      maximum for each count.
                                      ...
      [I]f the Probation Office determines from the defendant’s
      criminal history that U.S.S.G. § 4B1.1 (Career Offender)
      applies, that provision may be used in determining the
      sentence.

Plea Agreement, supra, ¶¶ 3, 5, 6(d) (emphasis added). Additionally,

Defendant was asked at least twice during the Rule 11 proceeding if he

had reviewed the terms of his plea agreement with his attorney and if he

understood the terms therein. Rule 11 Inquiry, ¶¶ 10, 32. Both times he

acknowledged that he understood the agreement’s terms and had

reviewed them with his attorney; his former attorney also advised the Court

that he had reviewed the terms of the plea agreement with the Defendant

and was satisfied that he understood the terms thereof. Id. ¶ 35.

      Even though the Defendant allegedly confided in his former attorney

that he was actually innocent of the drug charge herein, he answered

under oath that he was in fact guilty. Id. ¶ 27 (“Are you, in fact, guilty of

the count in the bill of indictment to which you have come to court



  Case 1:07-cr-00033-MR-WCM       Document 263     Filed 07/29/08   Page 14 of 17
                                     15

today to plead guilty? That is, did you commit the act(s) described in

count one of the bill of indictment?” The Defendant answered,

“Yes.”). The Court places great weight on Defendant’s representations at

his Rule 11 hearing. See Blackledge v. Allison, 431 U.S. 63, 73-74

(1977) (representations made by a defendant at a plea hearing, as well

as any findings made by the judge, constitute a formidable barrier in

any subsequent collateral proceeding); see also DeFusco, 949 F.2d at

119 (statements made by a defendant during a Rule 11 proceeding

constitute strong evidence of the voluntariness of the plea).

      The Court finds that, based on a close examination of the record

herein, Defendant fully understood the nature of the Rule 11 proceeding,

freely acknowledged his guilt to the charge herein under oath, and

knowingly entered into a plea agreement with the Government wherein he

agreed, but ultimately failed, to cooperate with the Government in

exchange for the Government’s filing a motion for downward departure on

his behalf.

      Defendant’s arguments examined under the factors listed in Moore

do not demonstrate “a fair and just reason” for withdrawal of the guilty plea.

Defendant’s principal contention focuses on the alleged conduct of his




  Case 1:07-cr-00033-MR-WCM      Document 263     Filed 07/29/08   Page 15 of 17
                                      16

former attorney who represented him throughout the plea negotiations and

during the Rule 11 hearing, and to whom he asserted his innocence.

However, these contentions are in direct contradiction to the statements

Defendant provided under oath before the Magistrate Judge as outlined

above.

      The Court has also considered the remaining factors listed in Moore.

Almost a year passed between the time Defendant pled guilty on July 12,

2007, and the filing of this motion. The Court finds this factor supports the

Government’s contention that prejudice would result from setting aside

Defendant’s guilty plea due to the inherent difficulty in having to prepare

the case for trial at this point. See Government’s Response, supra, at 6-

7. It bears noting as well, that Defendant did not file this motion until

receiving a draft of the presentence report which determined he qualified

for career offender status and, therefore, was subjected to a mandatory life

sentence.

      The Court concludes the Rule 11 proceedings were free from error

and Defendant has failed to show that any of the Moore factors reasonably

support his motion to withdraw. The undersigned further concludes that

Defendant has not carried his burden of showing that a “fair and just




  Case 1:07-cr-00033-MR-WCM        Document 263      Filed 07/29/08   Page 16 of 17
                                     17

reason” exists for withdrawal of his guilty plea and his motion to withdraw

must be denied.



                                III. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s motion to withdraw

his guilty plea is hereby DENIED.

                                      Signed: July 29, 2008




  Case 1:07-cr-00033-MR-WCM     Document 263     Filed 07/29/08   Page 17 of 17
